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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

          Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

          ORDER GRANTING THE RECEIVER’S UNOPPOSED MOTION TO LIFT
        LITIGATION INJUNCTION TO PERMIT THE RECEIVER TO VOLUNTARILY
       RELEASE PAR FUNDING’S SUBORDINATE SECURITY INTEREST ALLOWING
          FOR SALE OF 12405 EAST BRANDT ROAD, LOCKEFORD, CALIFORNIA

          THIS CAUSE comes before the Court upon the Receiver’s Unopposed Motion to Lift

  Litigation Injunction to Permit the Receiver to Voluntarily Release Par Funding’s Subordinate

  Security Interest Allowing for the Sale of 12405 East Brandt Road, Lockeford, California [ECF

  No. 321] (“Motion”), filed on October 14, 2020. In the Motion, the Receiver seeks to modify the

  Court’s Amended Order Appointing Receiver dated August 13, 2020 [ECF No. 141], so as to lift

  the litigation injunction provided for in that Order to permit the Receiver, in his discretion, to take

  steps necessary to voluntarily release Par Funding’s subordinate security interest allowing for the

  sale of 12405 East Brandt Road, Lockeford, California.

          The Receiver has made a sufficient and proper showing in support of the relief requested.

  Accordingly, it is hereby

          ORDERED AND ADJUDGED that the Receiver’s Unopposed Motion to Lift Litigation

  Injunction to Permit the Receiver to Voluntarily Release Par Funding’s Subordinate Security
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  Interest Allowing for the Sale of 12405 East Brandt Road, Lockeford, California [ECF No. 321]

  is GRANTED as follows:

         1.      The litigation injunction set forth in the Court’s Amended Order Appointing

  Receiver dated August 13, 2020 [ECF No. 141] is hereby lifted to authorize the Receiver, in his

  discretion, to take steps necessary to voluntarily release Par Funding’s subordinate security interest

  allowing for the sale of 12405 East Brandt Road, Lockeford, California.

         2.      On the close of escrow, the net proceeds of sale remaining after liens,

  encumbrances, and cost of sale, as authorized above, have been paid, shall be placed into an interest

  bearing segregated account to be held jointly in the names of Ryan K. Stumphauzer, as Receiver

  and The Dennis Wood ROBS 401(k) retirement plan, at an authorized facility. The net proceeds

  may be released only on further order of this Court or by a mutual written agreement, signed by

  Ryan K. Stumphauzer, as Receiver and Dennis Wood as the administrator of the Dennis Wood

  ROBS 401(k) retirement plan.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 15th day of October, 2020.



                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
  Copies to:     Counsel of record




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